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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. CR-S-10-443 TLN
11
                                   Plaintiff,             STIPULATION REGARDING EXCLUDABLE
12                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
                             v.                           FINDINGS
13
     VI A. LE,                                            DATE: February 20, 2014
14                                                        TIME: 9:30 a.m.
                                   Defendants.            COURT: Hon. Troy L. Nunley
15

16      The United States of America through its undersigned counsel, Christian Highsmith,
17 Assistant United States Attorney, together with counsel for defendant Vi A. Le, John R.

18 Manning, Esq., hereby stipulate the following:

19      1. By previous order, this matter was set for status conference on February 20, 2014.

20      2. By this stipulation, the United States now moves to continue the status conference until March 6,

21 2014 and to exclude time between February 20, 2014 and March 6, 2014 under the Local Code T-4 (to

22 allow defense counsel time to prepare).

23      3. The parties agree and stipulate, and request the Court find the following:

24          a. Counsel for the defendant needs additional time to meet with the defendant (with interpreter)

25               in order to complete their review of the discovery; investigation reports,

26          b. discussion and analysis of relevant USSG calculations; and, review the plea agreement.

27          c. This case includes 526 pages of discovery as well as one disc of video.

28          d. The defendant requires the services of a Cantonese interpreter in order to communicate


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 1          effectively with counsel.

 2       e. This case is one of a series of cases evolving from a lengthy DEA/Elk Grove PD/Sac SO

 3          investigation into widespread use of vacant home in the Elk Grove area (and Bay Area) as

 4          "grow houses." Many, if not all, of the defendants (and witnesses) in this series of cases

 5          speak Cantonese (or another dialect) requiring the use of an interpreter. As indicated, this

 6          case is part of a much larger operation focusing on indoor grows in South Sacramento and

 7          Elk Grove. It has been remarkably productive – resulting in the seizure of thousands of

 8          plants, numerous search warrants, and the arrest of several dozen defendants (the vast

 9          majority of whom speak either Cantonese, Vietnamese, Mandarin, or Hakka). Co-

10          coordinating meeting between the Parties has proved challenging.

11       f. The defense is conducting additional investigation which will impact the potential guideline

12          calculations whether the matter resolves by negotiated plea or following trial.

13       g. Counsel for defendant believes the failure to grant a continuance in this case would deny

14          defense counsel reasonable time necessary for effective preparation, taking into account the

15          exercise of due diligence.

16       h. The Government does not object to the continuance.

17       i. Based on the above-stated findings, the ends of justice served by granting the requested

18          continuance outweigh the best interests of the public and the defendant in a speedy trial

19          within the original date prescribed by the Speedy Trial Act.

20       j. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

21          Section 3161(h)(7)(A) and (B)(iv) within which trial must commence, the time period of

22          October 24, 2013 to January 9, 2014, inclusive, is deemed excludable pursuant to 18 United

23          States Code Section 3161(h)(7)(A) and (B)(iv) corresponding to Local Code T-4 because it

24          results from a continuance granted by the Court at defendant’s request on the basis of the

25          Court’s finding that the ends of justice served by taking such action outweigh the best

26          interest of the public and the defendant in a speedy trial.

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 1     4. Nothing in this stipulation and order shall preclude a finding that other provisions of the Speedy

 2        Trial Act dictate that additional time periods are excludable from the period within which a trial

 3        must commence.

 4 IT IS SO STIPULATED.

 5 Dated: February 19, 2014                                BENJAMIN B. WAGNER
                                                           United States Attorney
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 7                                                 By: /s/ CHRISTIAAN H. HIGHSMITH
                                                       CHRISTIAAN H. HIGHSMITH
 8                                                     Assistant United States Attorney
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10 Dated: February 19, 2014

11                                                 By: /s/ John R. Manning
                                                       JOHN R. MANNING
12                                                     Attorney for Defendant Vi A. Le
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14                                                 ORDER
15   IT IS SO FOUND AND ORDERED this 19th day of February, 2014.
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                                              Troy L. Nunley
21                                            United States District Judge
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